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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

    PHYSICIANS HEALTHSOURCE, INC.,                              )
    individually and as the representative of a class of        )
    similarly-situated persons,                                 )
                                                                )
                                   Plaintiff,                   )   Case No.: 12-cv-5105
                                                                )
                   v.                                           )   Hon. Matthew F. Kennelly
                                                                )
    A-S MEDICATION SOLUTIONS LLC, WALTER                        )
    HOFF and JOHN DOES 1-10,                                    )
                                                                )
                                   Defendants.                  )

                    PLAINTIFF’S MOTION FOR ENTRY OF JUDGMENT

         Plaintiff, Physicians Healthsource, Inc., as representative of the certified Class, respectfully

states as follows for its Motion for Entry of Judgment:

         1.      On August 21, 2018, the Court granted summary judgment in favor of the certified

Class 1 and against Defendants. Physicians Healthsource, Inc. v. A-S Medication Solutions, LLC,

324 F. Supp. 3d 973, 983 (N.D. Ill. 2018). The Court held (a) that the Fax was an “unsolicited

advertisement” under the Telephone Consumer Protection Act of 1991 (“TCPA”); (b) that

Defendants “sent” the Fax using a computer; and (c) that the Fax was “successfully delivered to

11,422 [fax] numbers.” Id. at 976-79. The only remaining issue was whether Plaintiff would seek

treble damages for “willful or knowing” violations, or seek the automatic $500 per violation

imposed by 47 U.S.C. § 227(b)(3).




1
  The Court previously certified the following Class: “All persons or entities who were successfully sent
the Fax providing ‘A-S Medication Solutions LLC, Quality Service Guaranteed,’ and ‘Ask about our new
PedigreeRx Solution!,’ between February 10, 2010, and February 28, 2010.” Physicians Healthsource, Inc.
v. A-S Medication Solutions, LLC, 318 F.R.D. 712, 720, 725 (N.D. Ill. 2016) (Gottschall, J.).
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       2.       No party to this action has demanded a trial by jury. There is no jury demand in

Plaintiff’s Complaint, Defendants’ Answer to the Complaint, Plaintiffs’ First Amended

Complaint, or Defendants’ Answer to the First Amended Complaint. (See Doc. 1-1, Pl.’s Compl.

at 1–13; Doc. 28, Defs.’ Answer to Compl. at 1–17; Doc. 38, Pl.’s First Am. Compl. at 1–19; Doc.

42, Defs.’ Answer to First Am. Compl. at 1–23).

       3.       On October 25, 2018, Plaintiff filed its “Plaintiff’s Statement on Damages,”

wherein Plaintiff states:

       1.    Plaintiff seeks on behalf of itself and members of the Class “$500 in damages
            for each such violation” of the Telephone Consumer Protection Act of 1991
            (“TCPA”). 47 U.S.C. § 227(b)(3)(B).

       2.    Plaintiff does not and will not ask the Court to find “that the defendant[s]
            willfully or knowingly violated” the TCPA, and Plaintiff does not and will not
            ask the Court to “increase the amount of the award to an amount equal to not
            more than 3 times the amount available under subparagraph (B) of this
            paragraph.” 47 U.S.C. § 227(b)(3).

  (Doc. 311).

       4.       Plaintiff’s counsel (Wallace C. Solberg) conferred telephonically and via email

with Defendants’ counsel (Eric Samore and Jacqueline M. Deluca), and Defendants have no

objection to the content or to the filing of “Plaintiff’s Statement on Damages.” (See Declaration of

Wallace C. Solberg, attached hereto as Exhibit 1, at ¶¶ 4-6).

       5.       Because Defendants’ liability was already established in the Court’s order granting

summary judgment, and because the $500 statutory damages is automatic, there is no issue on

which to hold a bench trial. See Holtzman v. Turza, 728 F.3d 682, 683 (7th Cir. 2013) (“Turza I”).

       6.       Rather, under Turza I, 728 F.3d at 683, the Court should now enter judgment on

behalf of Plaintiff Physicians Healthsource, Inc., individually and as representative of the Class

against Defendants A-S Medical Solutions, LLC and Walter Hoff, in the amount of $5,709,000




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($500 per violation for each of the 11,418 2 violations). (A copy of the Judgment entered in Turza

I is attached as Exhibit 2).

        7.      Pursuant to Holtzman v. Turza, 828 F.3d 606, 608 (7th Cir. 2016) (“Turza II”),

following entry of Judgment, the Court should order Defendants to pay $5,709,000 ($500 x

11,418) into the Court’s registry as “security for payment” to class members.

        8.       Following the deposit of the security, Plaintiff will file a petition for attorney fees,

expenses, and incentive award to Plaintiff. Following entry of an Order regarding same, Plaintiff

shall then seek an Order for Distribution of Judgment Funds, directing the administrator retained

by Plaintiff’s Counsel, Class-Settlement.com, to send mail notice allowing class members to

“spurn the money” if they wish. See also Holtzman v. Turza, 701 Fed. App’x 506, 507 (7th Cir.

2017) (“Turza III”) (approving notice asking “whether [each class member] wants to claim the

recovery (with nonresponse implying consent) and to update any details necessary to ensure that

checks reach the correct addresses”). (A copy of the Amended Order for Distribution of Judgment

Funds following Turza II, affirmed in Turza III, is attached as Exhibit 3; a copy of the Amended

Order for Distribution of Judgment Funds following Turza III (changing distribution dates), is

attached as Exhibit 4).

        WHEREFORE, the Court should:

        (a) enter judgment for the Class in the amount of $5,709,000 ($500 per violation for each

of the 11,418 violations), pursuant to 47 U.S.C. § 227(b)(3);

        (b) order Defendants to pay $5,709,000 to the Court’s registry as security for payment to

class members;




2
  Three class members, who received a total of four faxes, opted out of the Class after receiving notice of
class certification, making the total number of violations at issue 11,418.


                                                    3
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         (c) set a deadline for Plaintiff to file its petition for attorney fees, expenses, and incentive

award;

         (d) vacate the December 10, 2018 trial date and all pretrial deadlines.



                                                 Respectfully submitted,

                                                 PHYSICIANS HEALTHSOURCE, INC.,
                                                 individually and as the representative of a class of
                                                 similarly-situated persons

                                         By:     /s/ Wallace C. Solberg
                                                 One of the Attorneys for Plaintiff and the Class
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2018, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to all attorneys

of record.



                                              /s/ Wallace C. Solberg
                                              Wallace C. Solberg




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